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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
_____________________________________

SEAN M. GERLICH, et al.,

      Plaintiffs,

           v.                                     Civil Action No. 08-1134 (JDB)

UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

     Defendants.
_____________________________________

         PLAINTIFFS’ OPPOSITION TO DEFENDANT
        DEFALAISE’S MOTION TO STRIKE AND THEIR
RESPONSE TO DEFENDANT MCDONALD’S ALTERNATIVE MOTION

                              Preliminary Statement

      This class action lawsuit primarily involves Privacy Act claims against

defendant United States Department of Justice and Bivens claims against five

individual defendants. Two of those defendants, not the others, have taken the

position that, apart from the dismissal of the Second Amended Complaint that they

have sought in dismissal motions pending before the Court, plaintiffs’ class action

allegations should be dismissed as to them solely on the basis that plaintiffs’

Motion for Class Certification, filed on February 9, 2009, was filed “unjustifiably


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late.” Memorandum of Defendant Louis G. DeFalaise in Support of Motion to

Strike Class Allegations, filed Feb. 19, 2009 (Defendant DeFalaise’s Strike

Memorandum), at 1; see also Defendant Esther Slater McDonald’s Motion to

Strike the Class Allegations or, in the Alternative, to Stay Class Certification

Briefing and Related Proceedings Pending Resolution of Defendants’ Motions to

Dismiss Plaintiffs’ Second Amended Complaint, filed Feb. 16, 2009 (Defendant

McDonald’s Alternative Motion), at 1-3.1

      On February 18, 2009, the Court ruled on one of these two “strike motions”

by granting one of the alternative forms of relief sought by it. See Order of Feb.

18, 2009 (granting defendant McDonald’s alternative motion for stay of class

certification briefing).2 Accordingly, that “strike motion,” by defendant


1
 Additionally, plaintiffs note that defendant Department of Justice asserted, on
January 23, that “[t]he time has long passed . . . Plaintiffs cannot now seek class
certification.” Defendant Department of Justice’s Reply in Support of Motion to
Dismiss Second Amended Complaint, filed Jan. 23, 2009 (Defendant Department
of Justice’s Dismissal Reply), at 2 n.2. Like the remaining three individual
defendants, however, it has not moved to strike the Second Amended Complaint’s
class allegations as to it.
2
 Inexplicably, defendant McDonald’s counsel neither consulted with counsel for
plaintiffs before filing this motion, as was required by Local Civil Rule 7(m), nor
provided any statement addressing why they did not do so. Had they done the
former, they would have learned that plaintiffs actually had no objection
whatsoever to the Court staying briefing on their class certification motion. See
note 9 infra. In fact, plaintiffs’ position is, and consistently has been, that the most
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McDonald, properly is seen as having been acted upon by the Court and resolved

already.3 So plaintiffs submit this memorandum primarily as an opposition to the

motion by defendant DeFalaise to strike the class allegations that are made

regarding him alone in plaintiffs’ Second Amended Complaint. For the reasons

briefly set forth below, plaintiffs respectfully suggest that such a motion is entirely

without merit on the facts of this case and should be denied.

                       Factual and Procedural Background

      Given the nature of the arguments that are made in the instant motion, and

their close relation to the way in which the litigation of this case has proceeded, it

is useful to bear in mind the chronology of those relevant facts and proceedings.

As to this motion, they are as follows:

      1. This lawsuit was commenced on June 30, 2008, as a class action with

one named plaintiff, and against one defendant, the Department of Justice, stating

claims primarily under the Privacy Act of 1974, 5 U.S.C. § 552a. At the very



appropriate next procedural step in this case is the exchange of information and
the taking of discovery under Rules 16 and 26 of the Federal Rules of Civil
Procedure, which in this case can be quite relevant to the proper fashioning of a
class. To be sure, the Court’s February 18 Order is entirely consistent with that.
3
 Surely a court’s action on other types of alternative motions, granting one of the
two types of relief alternatively sought, would yield that result.
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outset, that sole plaintiff identified for the Court his position that the facts of this

case were such that they warranted discovery for purposes of class certification –

specifically, “the holding of a brief status conference, soon after the filing of

defendant’s Answer, for the purpose of promptly establishing a preliminary

schedule for the efficient conduct of discovery in anticipation of plaintiff’s

prospective motion for class certification under Federal Rule of Civil Procedure

23.” Plaintiff’s Memorandum of Points and Authorities in Support of Motion for

Preliminary Scheduling Order, filed June 30, 2008, at 2.4

      2. From the outset, in a pattern that later was fully adopted and perpetuated

by the individual defendants to the case, defendant Department of Justice opposed

this approach, resisting even the holding of a scheduling conference, on the basis

that it was too early in the case to be concerned with such a thing even for

purposes of class certification. See Order of July 14, 2008 (accepting defendant

Department of Justice’s position, but explicitly contemplating “an appropriate


4
 Indeed, plaintiff spoke explicitly about the need “for proper determination of the
contours of the class of similarly situated parties to be included in plaintiff’s
prospective motion for class certification,” in light of the fact that defendant
Department of Justice was in sole possession of information material to that. Id. at
3-4. In identifying and pressing this point immediately, plaintiff even cited the
policy of Rule 23 of the Federal Rules of Civil Procedure that such matters be
attended to “[a]t an early practicable time.” FRCP 23(c)(1)(A).

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scheduling order once the defendant has responded to the complaint”).

      3. The Complaint was first amended on August 15, 2008, with additional

plaintiffs, defendants, and claims added, whereupon plaintiffs continued to seek

discovery. See, e.g., Plaintiffs’ Motion for Scheduling Conference, filed Nov.12,

2008, at 1-2.

      4. Then, due to a series of enlargements sought and obtained by defendants,

over increasing objections by plaintiffs, no answers were filed, nor were

coordinated motions to dismiss filed, until (as finally ordered by the Court)

December 2. 5

      5. During this time period, based upon information that became known to

plaintiffs only subsequent to the Complaint’s first amendment, plaintiffs sought

leave to amend their Complaint a second time. That leave was initially opposed

by defendant Department of Justice (i.e., not consented to, under Local Civil Rule

7(m), so that the amendment motion could be filed as unopposed), which led to the

Court not granting leave for the proffered Second Amended Complaint to be filed


5
  The major exception was a motion to dismiss filed by defendant Monica M.
Goodling on October 7, 2008, to which plaintiffs filed an opposition after her
flawed motion for default judgment on it was denied. Then defendant Michael J.
Elston submitted a motion to dismiss on November 11, which was effectively
absorbed into his filing of December 2.

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until mid-November. In fact, it was filed on November 13, 2008,6 and it contained

additional allegations pertaining both to an additional defendant (defendant

DeFalaise) and to an additional time period, one that also related to defendant

Alberto R. Gonzales.7

      5. Thus, as of November 13, 2008, the class allegations in this case had

changed twice, neither time being extent for ninety days; plaintiffs had

consistently pressed for discovery so that, inter alia, class certification proceedings

could proceed in a prompt manner; and the defendants themselves (as a group) had

succeeded in delaying even the full joining of issue in the case (let alone the

exchange of information appropriate to the proper fashioning of a class) until well

into the next year.

      6. During the course of that briefing, on January 23, defendant Department

of Justice stated the position (but as noted above did not move on it) that plaintiffs

could “not” as of then file their motion for class certification. Defendant


6
 By that time, it should be recalled, the Court had issued an Order further
extending the already-enlarged time period for the filing of all dismissal motions,
and setting a briefing schedule as to them, that extended into the months of
December and January. See Order of Nov. 12, 2008, at 1. Plaintiffs had
consistently sought a scheduling conference and appropriate discovery instead.
7
 See Second Amended Complaint, filed Nov. 13, 2008, at ¶¶ 201-09, 217, 236.
See also note 17 infra.
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Department of Justice’s Dismissal Reply, at 2 n.2. In response, plaintiffs

specifically stated that they “intend[ed] to file their motion for class certification

within the next week.” Plaintiffs’ Consolidated Memorandum of Points and

Authorities in Opposition to Defendant DeFalaise’s Motion to Dismiss and in

Further Support of Plaintiffs’ Cross-Motion for Scheduling Conference, filed Feb.

2, 2009 (Plaintiffs’ Consolidated Memorandum), at 2 n.2.8

      7. On February 9, plaintiffs filed a motion for class certification. In doing

so, they specifically pointed out that this motion (and its adjudication) was

handicapped at that time by the fact “the parties stand in disagreement over the

exact number of class representatives in different categories of the case.”

Plaintiffs’ Memorandum of Points and Authorities in Support of their Motion for

Class Certification, filed Feb. 9, 2009 (Plaintiffs’ Class Certification

Memorandum), at 3.9


8
  Plaintiffs further pointed out that the matter of class certification, not to mention
the discovery that had been sought for purposes of it from the outset, had been
“delayed by the protracted initial proceedings in this case,” but that plaintiffs
would in light of defendant Department of Justice’s stated position proceed to it
unless they “learn[ed] of a preference of the Court that they proceed otherwise.”
Id.
9
 In fact, plaintiffs even suggested that the Court hold their class certification
motion in abeyance for its most efficient adjudication at a later time. See
Plaintiffs’ Class Certification Memorandum at 3 n.4 (citing Local Civil Rule
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      8. On February 18, the Court issued an Order holding that class

certification motion in abeyance pending further proceedings, as noted above.

Plaintiff DeFalaise filed the instant motion to strike the next day.10

                                     Argument

      Under the circumstances of this case, as outlined in pertinent detail above,

none of the defendants to this action can meritoriously contend that plaintiffs’

class certification motion must be denied as “so late.” Defendant DeFalaise’s

Strike Memorandum at 2. Putting aside for now the fact that the very seizing on

such a thing bespeaks a palpable lack of confidence in a defendant’s broad-scale

dismissal motion,11 the idea that plaintiffs were expected “to have moved for class


23.1(b) for the proposition that a court “may order that a ruling [on class
certification] be postponed pending discovery”).
10
   It may be noted that defendant DeFalaise’s proposed order accompanying his
motion fails to specify any particular relief sought beyond that of his own
circumstances in the case. Oddly, defendant DeFalaise’s motion seeks to make a
point about his having “had intended to” seek the striking of plaintiffs’ class
allegations at a later time but having instead filed the instant motion only “in view
of the Court’s February 18, 2009 Order.” Defendant DeFalaise’s Strike
Memorandum at 1 n.1. The odd thing is that defendant DeFalaise’s counsel
communicated the intent to file a motion to strike (in conferring on it through the
Local Rule 7(m) procedure) on the previous day, before the issuance (at 6:22 p.m.)
of the Court’s February 18 Order.
11
  Plaintiffs will leave such observations to the oral argument that they have
respectfully requested be held on those pending dismissal motions. Accord Local
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certification no later than September 28” (in defendant McDonald’s words), or that

they have been “abusing the amendment process in order to artificially extend the

deadline for filing for class certification,” Defendant McDonald’s Alternative

Motion at 2; Defendant DeFalaise’s Strike Memorandum at 2, is extreme to say

the least.12

       To be sure, the language of Local Rule 23.1(b) speaks of a 90-day period for

seeking class certification, but in implementing the timing purposes underlying

Rule 23 of the Federal Rules of Civil Procedure it does not contemplate

circumstances such those here – i.e., where additional parties, claims, and facts are

added to a case that are material to the very class allegations upon which

certification is to be sought. In fact, it does not specifically speak to the

practicalities that arise with amended complaints at all. Nevertheless, defendant

DeFalaise would have the Court apply that rule with a vengeance in his favor here,

without any true regard for either its purpose or exactly how this case (as detailed


Civil Rule 78.1. But see also note 14 infra.
12
  Straining badly, defendant DeFalaise even goes so far as to flatly declare:
“Indeed, this is a classic case of abusive amendments.” Defendant DeFalaise’s
Strike Memorandum at 2. Evidently, he dwells on the fact that, in his view,
“Plaintiffs waited to add [him] as a defendant,” as if that were a sign of something
“abusive.” Id. at 4. See also notes 17-18 infra.
                                          -9-
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above) has proceeded.

      Indeed, though it is difficult at times to discern whether he is arguing

against the filing of the class certification motion or against the amendment of the

Amended Complaint so as to include him as a defendant,13 defendant DeFalaise

actually seeks to support his effort by drawing upon the “policy” and “purposes”

underlying the rule (and Rule 23 itself), despite the fact that they are largely

designed to benefit putative class members, not him.14 The one such policy that


13
   It does appear, however, that the essence of defendant DeFalaise’s position, if
not even the basic animating element of his motion, is found in his concern with
any possibility that “the Court [might] allow a class action to proceed against Mr.
DeFalaise only . . . .” Defendant DeFalaise’s Strike Memorandum at 3; see also
id. at 1 (counting days as to him alone). The most obvious response to that
concern, of course, is that the Court should allow the class action to proceed as to
all defendants, for strong reasons elsewhere stated. The deeper response, though,
is that defendant DeFalaise is the only defendant who has pressed this Rule
23.1(b) argument, so in actuality there really does not exist the “risk” that seems to
drive his position in any event. That leaves his position as illogical at best and
disingenuous at worst.
14
   It is with no small irony here that defendant DeFalaise draws upon Rule 23’s
concern not only with facilitating the “scope and timing of discovery” in a class
action but also with “ensur[ing] that putative class members learn promptly” about
it. Defendant DeFalaise’s Strike Memorandum at 4. This of course rings
especially hollow in a case in which his co-defendant already has acted grossly
contrary to that latter concern in its as-yet-unconfronted scenario of contacts with
more than 165 putative class members this past fall. See, e.g., Plaintiffs’ Partial
Opposition to Defendant Department of Justice’s Motion for Enlargement of
Time, filed Oct. 9, 2008, at 4-7. Perhaps in a reply memorandum on the instant
motion defendant DeFalaise can explain, either on defendant Department of
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does speak to his interests is that of “prevent[ing] plaintiffs from abusing the

amendment process in order to artificially extend the deadline for filing for class

certification” -- but in raising that in this case defendant DeFalaise is turning this

case on its head: The record of this case should be crystal clear that in no way and

at no time have plaintiffs had any interest in extending the filing for class

certification, not “artificially,” not “abusively,” not at all.15

       Moreover the fact pattern of this case is a far cry from what was presented

to this Court in the case so heavily relied upon for the instant motion, Howard v.

Gutierrez, 474 F. Supp. 2d 41, 53-55 (D.D.C.), reconsideration denied, 503 F.

Supp. 2d 392, 394-96 (D.D.C. 2007). Although this Court certainly construed

Local Civil Rule 23.1(b) in order to reach (and reaffirm) an equitable ruling in that

case, plaintiffs respectfully suggest that by the same token it could and should,

without doing any necessary violence to that decision, deny defendant DeFalaise


Justice’s behalf or his own, how he can be heard to argue this in the wake of such
still-unexplained treatment of putative plaintiffs to begin with.
15
  Indeed, by defendant DeFalaise’s own reasoning (and that of defendant
McDonald, for that matter), a defendant to a case such as this (in which the
government is entitled to sixty days to answer) could seek a lengthy enlargement
of that deadline (as defendant Department of Justice actually did in this case) and
then move to strike the class allegations as “unenforced” at what then had become
the practical commencement of litigation. Plaintiffs respectfully suggest that that
would be an abuse.
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his attempt to seize on that here.16 It is not without significance (though not

apparent on the face of defendant DeFalaise’s motion) that Mr. Howard came to

this Court with an amended complaint that was filed three months after a

defendant raised the class certification timing issue and was seen to be most

undeserving of any pragmatic application of the rule to his circumstances. This

Court logically found it “unreasonable” to permit this on those extreme facts, as it

reasoned that it needed to guard against a plaintiff being “able to extend

indefinitely the deadline for filing a motion for class certification, even after the

deadline imposed by the local rule had long passed, and regardless of whether it

had been ignored wittingly or unwittingly, simply by lodging an amended

complaint.”


      That is hardly the case here. Plaintiffs have never “simply . . . lodg[ed] an

amended complaint” for this or any other purpose.17 Rather, the nature of the


16
  In the event that the Court were to view Local Civil Rule 23.1(b)’s applicability
to this case differently, plaintiffs certainly would ask that the Court grant them
leave under the terms of the rule for their class allegations to go forward in this
case. Doing so would be in the interests of justice, would not amount to any unfair
or prejudicial treatment of any defendant whatsoever, and would be entirely
consistent with the manner in which this case has proceeded from its very outset.
17
  On this score, defendant DeFalaise’s myopia runs rampant in his view that
“plaintiffs have all but admitted that Mr. DeFalaise was belatedly named as a
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amendments made to the Complaint, and in turn to the Amended Complaint, speak

quite plainly to the fact that they were made for good, substantive reasons having

absolutely nothing to do with class certification timing. In fact, for defendant

DeFalaise to so boldly suggest otherwise, no matter how much he wishes plaintiffs

were not compelled factually to add him as a defendant,18 is to blink reality in the

most self-serving of ways.


                                    Conclusion

      For the foregoing reasons, plaintiffs respectfully suggest that defendant

DeFalaise’s motion to strike should be denied. An appropriate proposed order is




defendant so that plaintiffs could depose him outside the normal third-party
discovery channels.” Defendant DeFalaise’s Strike Memorandum at 3. He
continues to overlook, inter alia, the plain fact that the allegations made about him
in the Second Amended Complaint (based upon newly learned information) are
integral to plaintiffs’ claims as to wrongful conduct during the year 2002. See,
e.g., Second Amended Complaint, ¶¶ 207-08, 217; see also id. at ¶ 236.
18
  Defendant DeFalaise ought not to confuse one thing with another here.
Plaintiffs have openly stated that they added him as a defendant through their
Second Amended Complaint “reluctantly[,] due to the respect that they have for
him and the esteem in which he is held,” but at the same time they made clear that
there are “unavoidable foundation fact[s]” that connect his conduct to the case.
Plaintiffs’ Consolidated Memorandum at 6-7 n.7. See also note 17 supra.
                                        - 13 -
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attached hereto.19

                                                 Respectfully submitted,


                                                 /s/ Daniel J. Metcalfe
Dated: March 5, 2009                             DANIEL J. METCALFE
                                                 D.C. Bar # 244293
                                                 4801 Massachusetts Ave., N.W.
                                                 Washington, D.C. 20016
                                                 (301) 509-2300
                                                 Counsel for Plaintiffs




19
  If the Court were to view defendant McDonald’s alternative motion as not
having been disposed of by its granting of the alternative relief sought through its
Order of February 18, plaintiffs of course would request its denial on the same
basis.
                                        - 14 -
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

________________________________

SEAN M. GERLICH, et al.,

       Plaintiffs,

           v.                                     Civil Action No. 08-1134 (JDB)

UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

     Defendants.
________________________________

                               PROPOSED ORDER

       Upon consideration of defendant DeFalaise’s Motion to Strike Class

Allegations, of the memoranda of points and authorities filed by the respective

parties in support thereof and in opposition thereto, of entire record herein, and it

appearing to the Court that the denial of the motion, pursuant to Rule 23 of the

Federal Rules of Civil Procedure and Civil Rule 23.1 of the Local Rules of this

Court, would be just and proper, it is by the Court on this ____ day of

2009

       ORDERED that defendant DeFalaise’s Motion to Strike Class Allegations



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be, and it hereby is, denied.



                                   UNITED STATES DISTRICT JUDGE




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